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                EXHIBIT 22
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  A Look Inside Rikers: ‘Fight Night’ and Gang
  Rule, Captured on Video

  Videos obtained by The New York Times reveal scenes of violence as
  the Department of Correction struggles to restore order in the jail
  system.

      Give this article




  Jan. 12, 2022
  The men had gotten along on Rikers Island, had even been friendly,
  but now they were face to face inside a jail cell — and a gang leader
  had just ordered them to fight. Unable to refuse him, the men began to
  pummel one another while, outside the cell, other detainees jostled
  and cheered.

  When it was over, the winner got a cigarette, according to court
  records and interviews.

  Standing nearby, a correction officer watched without intervening.
  Neither the fights nor the injuries were recorded in any official report.
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  In an unusual decision last month, a Manhattan Supreme Court judge
  ordered the release of one of the men who had been forced to
  participate in the “fight night” because, she said, the Department of
  Correction had failed to protect him. The department’s inability to
  manage the jail system as the man awaited trial on robbery charges,
  Justice April Newbauer said, “was tantamount to deliberate
  indifference.”

  The ruling served as an extraordinary rebuke of the Correction
  Department’s leadership, underscoring the dangers faced by
  detainees and guards alike in a jail system in which slashings and
  stabbings have surged, and some detainees have been left to fend for
  themselves. It also could offer a blueprint for others seeking pretrial
  release amid the disorder that has gripped Rikers Island since the
  pandemic began in 2020.

  A Correction Department spokeswoman said the agency was
  investigating the events described in the court filings. “We take any
  claims of unsafe conditions in our facilities very seriously,” she said.
  “We remain fully committed to creating a safer and more humane
  environment in our jails.”

  The New York Times obtained jail surveillance camera footage that
  was gathered by New York County Defender Services as part of its
  client’s petition to go free. Depicting the fight night and an attempted
  stabbing, the videos, along with court records and interviews, offer
  vivid glimpses of the lawlessness that has taken hold on Rikers
  Island, where violence has soared to levels not seen since the jails
  overflowed during the crack epidemic in the 1990s.

  “People marched for George Floyd — I think there needs to be a
  similar movement for the people on Rikers Island,” said Eric M. Burse,
  a trial lawyer at New York County Defender Services who represented
  the man who was released. “Those people over there don’t have much
  of a voice. They are locked up. It is incumbent upon regular ordinary
  citizens to sound the alarm just like my client did.”
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  Fight night in cell 15




  On Oct. 19, inside cell 15 at the George R. Vierno Center, an 850-bed
  jail on Rikers Island, fight night was underway. It was organized by a
  leader of the Trinitarios — a predominantly Dominican gang that jail
  managers had concentrated in one housing area — who occasionally
  made men square off for his own entertainment.

  In an interview and sworn testimony, the man, identified in court
  records as Relator G., described being one of those combatants. He
  said correction officers had effectively handed control of the unit to a
  gang leader known as Bacalao, the Spanish word for salted codfish.
  Bacalao, Relator G. said, determined who could live there, when they
  would go outside and who could eat or use the phones.

  Relator G.’s testimony about harrowing encounters with gang
  members — elicited by criminal defense lawyers who argued that
  dangerous and inhumane conditions on Rikers were grounds for his
  release — swayed a judge to rule in his favor. In an interview after he
  was freed, he amplified on his sworn statements, speaking on
  condition that he be identified the way he was in court filings that
  shielded his identity, for fear of reprisals from gang members.


  The Crisis at Rikers Island
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  Amid the pandemic and a staffing emergency, New York
  City’s main jail complex has been embroiled in a continuing
  crisis.

     2022 Deaths: Sixteen people died in the city’s jail system last year,
     the most since 2013. Deaths this year are on pace to be even
     higher.
     Gaming the Numbers: Louis Molina, New York City’s jail
     commissioner, pushed for a dying man’s release from Rikers in an
     apparent bid to limit the prison’s death count.
     Inside Rikers: Videos obtained by The Times reveal scenes of
     violence and offer vivid glimpses of the lawlessness that has taken
     hold.
     Decades of Dysfunction: For years, city officials have presided over
     shortcuts and blunders that have led to chaos at the jail complex.

  Recounting the moment when the gang leader tapped him to enter the
  fight, Relator G. said, “I felt stupid.” He recognized the detainee across
  from him as someone he had associated with. “This guy has nothing
  against me,” he said.

  It lasted maybe two minutes. As they grappled, Relator G. hit his head
  on a metal toilet and bed frame and suffered bruises to his neck and
  back. Tired, his opponent refused to continue. The next day, members
  of the gang ran into the opponent’s cell and attacked him, forcing
  officers to remove him from the unit.

  The gang was able to run the housing area thanks to a practice that
  began under the administration of the former mayor, Bill de Blasio.
  Although department rules required mixing members of different
  gangs together in the same houses, jail managers, under pressure to
  keep violent incidents down, began grouping members of the same
  gang in housing areas, reasoning that the practice would cut down on
  brawls among rivals. Rates of violence continued to rise, and the
  practice led to the creation of settings where gangs could use
  violence against other detainees to exert control.
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  On the day of the fight in cell 15, 1,467 uniform staff were out sick,
  and 31 correction officers just failed to show up, according to court
  records. In 73 instances, housing units were not sufficiently staffed.

  At least two days a week, Bacalao’s unit would go unguarded. But at
  least two officers were present during the orchestrated fights: one in a
  control room overseeing the housing area and another walking the
  floor. Neither halted the violence, Relator G. said.

  Instead, the floor officer told the gang leader to “calm it down” or wait
  until later because “they are making it too obvious,” he testified in
  court.

  At another point, the lights in the housing area flicked on and off, a
  warning, he said, for the detainees watching or taking part in the
  fights.

  Representing the jail system at a hearing on whether to release
  Relator G., a Correction Department lawyer, Benjamin Lee, said that no
  one was seriously injured in the fights and blamed him for not
  reporting them. Mr. Lee said Relator G. should not be freed based on
  that experience alone.

  “Believe it or not, sometimes in correctional facilities, there is bullying
  going on,” Mr. Lee told the court, according to a transcript of the
  hearing. “It happens.”
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  An attempted stabbing




  Arrested in June on first-degree robbery charges, Relator G. was sent
  to Rikers at a time when violent incidents were increasing and
  hundreds of officers were failing to show up for work each day.

  This account of the months he spent in Rikers last year is drawn from
  his court testimony and jail surveillance footage as well as a lengthy
  interview he gave to The Times. He said he was moved among
  different housing units, always after groups of detainees had tried to
  attack him. In court testimony he described being beaten one day on
  an unguarded floor. He said an officer in a control room opened a
  secure door, allowing him to escape into a vestibule area until a
  captain could get him.

  A former member of the Crips gang, Relator G. was placed into a
  housing unit in August with dozens of members of that group, even as
  he warned officers that the housing assignment could put him at risk
  because he had left the gang.

  For a while, he got by because another detainee in the unit knew him
  from his neighborhood and vouched for him, he said. But when that
  person left, Relator G. became a target.

  On Aug. 10, detainees smeared the lens of a surveillance camera with
  butter in an attempt to prevent it from recording what they were about
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  to do, Relator G. said and the video showed.




  Relator G. saw a group of the gang members putting their sneakers
  on and recognized it as a sign that someone was about to be
  attacked. He said he decided to stay close to the only correction
  officer on the floor — a petite woman near an exit — in case he was
  the target.

  Within seconds, three men lunged at him, including one brandishing a
  sharp metal object. They chased him into a small area outside the
  housing unit where he was hemmed in by a cell gate. Between the
  men stood the lone officer.

  The attackers tried to reach past her, throwing metal food pans, until
  she blasted them with pepper spray.

  After about two minutes, an officer in a control room opened the gate
  and released the officer and Relator G. to safety.


  Bacalao takes control
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  From that housing area, Relator G. was placed into the Trinitarios unit,
  according to court testimony, videos and interviews.

  As soon as he walked in, six men swarmed and jabbed him with sharp
  objects, shouting in Spanish. The three officers who had escorted him
  there did not react. A voice from the rear of the unit told the men that
  Relator G. was “good,” and the group backed off.

  It was Bacalao. A tall, imposing man, he summoned Relator G. to
  what he called his office, a cell unlike any Relator G. had seen.
  Bacalao had numerous pairs of expensive, brand-name sneakers —
  Yeezys, Jordans, Adidas and Balenciaga — despite a rule forbidding
  detainees from having such items.

  Relator G. also counted eight bins full of food, spices, clothing and
  other items, far more than the one bin permitted to other detainees.
  Bacalao had seven of the thin, jail-issued mattresses stacked atop
  one another to make a more comfortable bed, six more than anyone
  else had. A knife fashioned from a metal pan lay close at hand.

  Bacalao explained to Relator G. the rules of “his house”: Keep your cell
  clean. Take a shower. When a new person arrives in the unit, attack
  them. Never use the phone without permission.

  Bacalao then escorted the man to a cell, handed him cigarettes and
  soup and said, “Enjoy yourself,” Relator G. recalled.
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  The guards, the man said, often deferred to Bacalao.

  One day, when a group of correction officers arrived at the unit to take
  the detainees outside — many had not had recreation in months — the
  leader objected, telling the officers to come back another time. The
  officers left.

  “He didn’t want to go out at the time,” Relator G. recalled. “It was too
  early for him. He told the officers that.”


  Out past 9 p.m.




  Bacalao displayed power in other ways as well, Relator G. said in
  court testimony and the interview.

  At 9 p.m., Rikers detainees are supposed to be confined to their cells
  in a nightly ritual known as “locking in.” The gang leader and his
  lieutenants ignored that rule, Relator G. said. Of the 50 people in the
  unit, Relator G. estimated that 30 were not members of the gang.

  “One of them would scream out: ‘If you’re not Trini, go into your cell,’”
  Relator G. recalled.

  From a window in his cell, Relator G. said he could see the gang
  roaming the unit, watching television or playing dominoes in full view
  of an officer in the control room.
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  As time went on, Relator G. said, the leader tried to recruit him into the
  gang, but he tried to shrug it off as a joke. He added, though, that he
  might have joined as a means of survival if he had not been released.

  Looking back at his most recent stay on Rikers, Relator G., who has
  been arrested five times over the years, compared it with other
  instances in which he had been housed on the island. He said
  conditions are far worse now.

  “I don’t think there’s no fixing jail,” he said. “It’s going to keep getting
  worse because it has been going on for so long.”

  Video editing by Dmitriy Khavin.

  Advertisement
